CaSe:lG-ZlSSZ-.]GR DOC#266 Filed:lZ/OQ/l€ Entered212/09/1616245222 Pagel Oi41

Fi|| in this information to identify the case:_` '- `

   

Debtor name Weston Educationa|, lnc. `

United Stales Bankruptcy Court for the: D|STR|CT OF COLORADO

Case number (if known) rELZSSZ j

§ |:| Check if this is an
l 7 _J amended filing

Official Form 207
Statement of Financial Affairs for Non~lndividuals Filing for Bankruptcy 04/16

The debtor must answer every question. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

metz ,i ,, , j ,

1. Gross revenue from business

 

 

l:l None.

identify the beginning and ending dates of the debtor’s fiscal year, So'urces of revenue Gross revenue

which may be a calendar year v Check all that apply- (before deductions and

' ' v - exclusions)

From the beginning of the fiscal year to filing date: l Opsrating s business Unknown

From 1I01I2016 to Filing Date j _
l:l Other _

From the beginning of the fiscal year to filing date: l Opersting a business $50,584,459.00

From 1l01l2016 to Filing Date _ 'i
l:l Other j

F°r prior year: _ - Opera[ing a business $59,528,413.00

From 1/01/2015 to 12/31/2015 '
l:l Other

 

2. Non-business revenue
lnclude revenue regardless of whether that revenue is taxab|e. Non-business income may include interest, dividends, money collected from lawsuits,

and royalties. List each source and the gross revenue for each separately Do not include revenue listed in line 1.

- None.

Description of sources of revenue Gross revenue from
each source _
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankru@y __

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--inc|uding expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
and every 3 years after that with respect to cases H|ed on or after the date of adjustment.)

I:l None.
Creditor’s Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that app/y
Official Form 207 Statement of Financial Affairs for Non-lnd|viduals Filing for Bankruptcy page 1

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D€bt<>r ¢VEston Educational, lnc. Case number rifknown) 16-21382

 

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply '
3'1' see Exhrbrr soFA 3 $o.oo El secured debt

l:l Unsecured loan repayments
l:l Suppliers or vendors

|:| Services

l:l Other_

 

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years alter that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. lnsiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such aleiates; and any managing agent of the debtor. 11 U.S.C. § 101 (31).

|:l None.
lnsider’s name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

4-1- See Exhibit SOFA 4 $0.00

 

5. Repossessions, foreclosures, and returns
List all property of the debtorthat Was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sa|e, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

l None

Creditor's name a`nd address Describe of the Property Date Va|ue of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before Hling this case set off or othen/vise took anything from an account
of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
debt.

l:l None

Creditor"s name and address Descrlption of the action creditor took Date action was Amount
taken

Guaranty Bank and Trust Company Frozen account-took funds Various Unknown

P.O. Box 5847 Last 4 digits of account number:

Denver, CO 80217

Wa| Actions or Assignments

7. Legal actions, administrative proceedingsl court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigationsl arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity_within 1 year before filing this case.

 

l:l None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. See Exhibit SOFA 7 l:l Pending
|:l On appeal
l:l Concluded

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Official Form 207 Statement of Financia| Affairs for Non-|ndividuals Filing for Bankruptcy page 2

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3)

4)

5)

6)

Exhibit to SOFA #7

Evans V. Weston Educational, Inc.

Case No. 716-cv-l713-RLW

United States District Court for the Eastern District of Missouri
Class Action

Status - Pcnding

En`c Chiusolo v. Weston Educational lnc., et. al.
Case No. 2016CV31063

District Court, Larimer County, Colorado
Employment

Status - Pending

Tessie Graham v. Weston Educational, Inc., et. al.

Case No. 1516-CV12378

Circuit Court, Jackson County, Missouri

Status - On Appeal Regarding Motion to Compel Arbitration (Case No. WD79815
Missouri Court of Appeals)

Waunsch, et. al. v. Weston Educational, lnc., et. al.
Case No. 16-cv-02739-RBJ-KMT

United States District Court for the District of Colorado
Class Action

Status - Pending

United States ex rel. Chickoiyah Miller, et. al. v. Weston Educational d/b/a Heritage
College

Case No. 11-cv-00112-RK

United States District Court for the Western District of Missouri

Qui Tam Suit

On Appeal to the United States Court of Appeals for the Sth Circuit under Case No. 14-
1 760

Status - Appeal is pending

Zelalem Gebre V. Earl Weston d/b/a Heritage College, et. al.
Case No. 1516-CV19441

Circuit Court, Jackson County, Missouri at Kansas City
Violation of the Missouri Merchandising Practices Act
Status - Pending

 

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46913 10/05/ 16 30609 4S Seaside Solutions, Inc. 0.00 0.00 43.68
47087 10/18/16 91008 AAHMC Adopt A Highway Maintenance 0.00 0.00 1,000.00
46886 10/03/16 090116- ABHES ABHES 0.00 0.00 18,000.00
46731 09/27/ 16 090116 ABHES Accrediting Bureau of Health 0.00 0.00 18,000.00
47064 10/18/16 46490585 ACCOUNT Accountemps 0.00 0.00 444.22
47064 10/18/ 16 46539083 ACCOUNT Accountemps 0,00 0.00 1,229.54
47064 10/18/16 46539571 ACCOUNT Accountemps 0.00 0.00 1,540.00
47179 10/24/16 0000105437 ACICS Accred. Council Independ. 0.00 0.00 500.00
47179 10/24/ 16 0000106116 ACICS Accred. Council Independ. 0.00 0.00 6,050.00
46693 09/15/16 REFUND091516 ACOADR Adriana Acosta 0.00 0.00 911,00
46910 10/05/16 476792955 ADP ADP, LLC. 0.00 0.00 461.20
46910 10/05/16 477245263 ADP ADP, Ll)C. 0.00 0.00 3,462.55
46910 10/05/16 477841723 ADP ADP, LL)C. 0.00 0.00 3,522.78
46910 10/05/16 4782505'75 ADP ADP, LL)C. 0.00 0.00 399.20
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46639 09/09/ 16 139981 AETNABE Aetna Behavioral Heallh, LLC ().0() 0.00 832.91
46639 09/09/ 16 142134 AETNABE Acma Behaviorai Health, LLC 0.00 0.00 883.57
46639 09/09/| 6 143715 AETNABE Aetna Behavioral Health, LLC 0.00 0.00 895.49
46745 09/'29/ 16 0837067 002 04/ 16 AETNASF Aelna lnc. 0.00 0.00 12.753.44
46745 0‘9/29/16 0837067-00.'2 032116 AETNASF Aetna inc_ 0.00 0.00 12,915.56
46745 09/29/|6 0837067-0()2 9/16 AETNASF Aetna lnc. 0.00 0.00 12~915.56
46746 09/29/16 0837067 502 1/16 AETNASL AETNA w IIart[orcl (Stop Loss) 0.00 0.00 2l ,148.53
46746 09/29/16 0837067-502 032116 AETNASL AETNA - Hartford (Stop Lnss) 0.0() 0.00 19,667.31
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46573 09/07/16 STMT083116 AFCO AFCO 0.00 0.00 20,747.16
46995 10/13/16 9050894651 AlRGAS Airgas USA Inc. 0.00 0,00 78.20
46995 1')/13/16 9053346804 AlRGAS Airgas USA Inc. 0.00 0.00 72.01
46995 10/13/16 9930193529 A[RGAS Airgas USA Inc. 0.00 0.00 33.87
46995 10/13/16 9935087736 AlRGAS Airgas USA Inc. 0.00 0.00 63.73
46995 10/13/16 9935809184 AlRGAS Airgas USA lnc. 0.00 0.()0 78.66
46995 10/13/16 9936518820 AIRGAS Airgas USA lnc. 0.00 0.00 80_65
46995 10/13/16 9937250115 AlRGAS Airgas USA Inc. 0.00 0.()0 78.66
46995 10/13/16 9937954545 AIRGAS Airgas USA Inc. 0.00 0.00 80.65
46995 10/13/16 9938667976 AIRGAS Airgas USA lnc. 0.00 0.00 80_65
46903 10/04/ 16 AIRGAS AirgaS USA, LLC 0.00 0.00 664.04
46909 10/04/ 16 A[RGAS Airgas USA, LLC 0.00 0.00 783.39
47114 10/21/16 REFUND102116 ALLMOR Morena Allen 0.00 0.00 196.00
45153 09/23/16 REFUND092216 ALSISA Isaac Alston 0.00 0.00 1,484.60
46407 08/22/ 16 REFUND082216 ALSKUR Kurtis Alsup 0.00 0.00 7;039.05
47037 10/17/16 REFUND101416 ALSKUR Kurtis Alsup 0.00 0.00 7,039.05
46843 09/30/ 16 REFUNDO93016 ALWHUD Huda Alwan 0.00 0.00 62.50
46892 10/04/16 61658306- AMAZON Amazon Web Services, Inc. 0.00 0.00 1,371.43
46892 10/04/ 16 73269637 AMAZON Amazon Web Services, Inc. 0.00 0.00 15.748.88
46892 10/04/16 75615610 AMAZON Amazon Web Services Inc. 0.00 0.00 5,213.14
47075 10/18/16 1586756 AMERMED American Medical 0.00 0.00 1,080.00
46527 08/26/ 16 16-166240 AMS Aff`ordable Med Scrubs1 LLC 0.00 0.00 541.85
46527 08/26/ 16 16-166240-2 AMS Att`ordable Med Scrubs, LLC 0.00 0.00 172.05
46527 08/26/ 16 16-166650 AMS Affordable Med Scrubs, LLC 0.00 0.00 192.73
46527 08/26/ 16 16-166986 AMS Affordable Med Scrubs, LLC 0.00 0.00 226.89
46527 08/26/ 16 16-167064 AMS Atfordable Med Scrubs, LLC 0.00 0.00 56.52
46527 08/26/16 16-167174 AMS Affordable Med Scrubs. LI_)C 0.00 0.00 167.79
46527 08/26/16 16-167272 AMS Aff`ordable Med Scrubs, LIJC 0.00 0.00 345.97
46527 08/26/ 16 16-168203 AMS Affordable Med Scrubs, LLC ().00 0.00 22.49
47186 10/25/ 16 2016-290 ANDISAC Andisa Consulting Group, Inc. 0.00 0.00 27,000.00
47188 10/25/ 16 2016-293 ANDISAC Andisa Consulting Group, lnc. 0.00 0.00 27,000.00
46938 10/07/16 REFUND100716 ANDKAC Kaci Anderson 0.00 0.00 763.00
46459 08/24/ 16 W/E 07/17/ 16 ANDMAT Matthew Anderson 0.00 0.00 494.53
46829 09/30/ 16 REFUND093016 ANDSAM Samantha Anderson 0.00 0.00 1,524.00
47178 10/24/ 16 102416 ANDTE Terri L. Anderson 0.00 0.00 978.54
43630 09/27/16 .......... APF APF fbo ESS 0.00 0.00 i,74l.75
46574 09/07/ 16 STMT08312016 ASSURANT Assurant Employee Benef'lts 0.00 0.00 11,823.39
46661 09/15/16 6982091216 AT&T AT&T 0.00 0.00 495.16
47089 10/19/16 0067-4 ATDOVE DOVELEWIS ANIMAL 0.00 0.00 87.25
47090 10/19/16 0067-3 ATDOVE DOVELEWiS ANIMAL 0.00 0.00 87.25
47091 10/19/16 0067-2 ATDOVE DOVELEWIS ANIMAL 0.00 0.00 87.25
47092 10/19/16 0067-1 ATDOVE DOVELEWIS ANIMAL 0.00 0.00 87.25
45132 09/23/16 REFUND092216 BAGKAT Kathleen Bagalacsa 0.00 0.00 1,199.00
46393 08/22/16 REFUND082216 BARISA Isabel Ban'aza 0.00 0.00 50.00
47221 10/27/16 REFUND102816 BARJEN Jennifer Bames 0.00 0.00 810.06
46934 10/07/16 REFUND100716 BARROC Rochelle Bara 0.0'0 0.00 1,926.00

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47101 10/21/16
46844 09/30/ 16
46911 10/05/16
47153 10/21/16
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46898 10/04/16
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46902 10/04/16
46901 10/04/16
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46887 10/03/16
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46508 08/25/16
46697 09/15/|()
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47011 10/17/16
47038 10/17/16
46720 09/26/16
47222 10/27/16
47155 10/21/16
47168 10/21/16
46424 08/22/ 16
46509 08/25/16
47105 10/21/16
46498 08/25/ 16
46804 09/30/16
46941 10/07/16
46689 09/15/16
45163 09/23/16
46425 08/22/16
46817 09/30/16
45130 09/23/16
46845 09/30/16
46552 09/02/16
46846 09/30/16
46474 08/24/16
46474 08/24/ 16
47115 10_/21/16
47041 10/17/16
46610 09!08/16
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46939 10/07/16
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REFUND082216
REFUND102116
REFUND082216
REFUND102816
ERO70616
REFUND091316
REFUND100716
050516
REFUND093016
REFUND041516
REFUND102116
10647

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11008
REFUND042916
REFUND100716

REFUND-VAO93016

REFUND090816
REFUND102816
REFUND093016
REFUND082516
REFUND091516
REFUND102116
REFUND101416
REFUND101416
REFUND092316
REFUND102816
REFUND1021 16
REFUND102116
REFUND082216
REFUND082516
REFUND1021 16
REFUND082516
REFUND093016
REFUND100716
REFUND091516
REFUND092216
REFUND082216
REFUND093016
REFUNDO92216
REFUND093016
REFUND090216
REFUND093016
ER062116
ER080416
REFUND1021 16
REFUND101416
REFUND090816
ER062016
ER080116
REFUND100716
REFUND090216
49466232 RI
REFUND082516
41159

58168744
58168746
58168747
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57913389
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REFUND082216
19297
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Kenneth Beasley
Carlie Bell
Devonda Bell
Rauchelle Belair
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Cassandra Bevel
Lauren Biennan
Anna Bin
Melissa Blake
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Teresa Blood
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Sherry Bobo
Arnanda Bogucki
Victoria Bonilla
Nicole Boston
Crystal Bowcrs
Crystal Bowers
Rylee Bowers

'Skaidre Bowman

Maun'ce Boxley
Tiffy Boyette
Tiffy Boyette
Kassie Brann
Geneva Bridges
Anthony Brown
Cameron Brown
Dawn Brown
Michael Brown
Vincent Brooks
Shantierra Buckeis
Paige Buechler
Annette Bullock
Crystal Bums
Glenda Burden
Jamie Bureau
Kyra Butler
Dayarnit Cabana
Brittany Cage
Dana Call

Dana Ca11

Lupe Calderon
Kan'ssa Camargo
Scott Campbeli
Jessi Cantwell
Jessi Cantwell
Denitra Carbaial
Jessica Carr
Carolina Biological Supply
Natalie Case
Casual Tees
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Ketaki Chavre
Madaline Charies

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4,098.97
1,524.00
125.00
75.25
60.86
1,363.00
2,907.50
290.00
778.78
1,979.82
8.44
774.34
1,621.02
143.37
92.64
1,293.60
2,763.85
2,524.97
1,894,24
1.150.74
996.00
239.00
250.00
2,286.60
1,769.98
465.00
1,142_00
1,266.83
794.00
253.00
2,945.60
664.75
713.00
20.00
1,330.00
834.67
1,314.00
2,272.00
1,114.83
1,304.00
276.00
3,787.40
102.50
273.()0
2,019.00
20.00
1,000.00
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502.00
717.20
1,836.00
70.80
48.41
2,953,00
18.00
476.32
75.00
2,076.75
1,369.57
1,429.23
193.26
1,200.86
318.52
3,422.97
2,914.40
233.23
7,449.34
572.50

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68.20
20.40
1,926.00

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46403 08/22/ 16
46615 09/08/16
46504 08/25/16
46575 09/07/16
47099 10/21/16
46460 08/24/ 16
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46818 09/30/16
46595 09/08/16
46641 09/12/16
46553 09/02/16
46616 09/08/16
46848 09/30/ 16
46399 08/22/'16
45164 09/23/16
47149 10/21/16
47042 10/17/16
46981 10/10/16
46981 10/10/16
45155 09/23/16
46454 09/23/16
4716910/21/16
45165 09/23/16
46885 09/30/16
45133 09/23/16
47065 10/18/16
46946 10/07/16
47253 10/27/16
46982 10/10/16
46982 10/10/16
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46982 10/10/16
46982 10/10/16
46982 10/10/16
46982 10/10/16
46625 09/08/16
46694 09/15/16
47012 10/1~7/16
47207 10/27/16
45156 09/23/16
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OE-2072869-1
OE-2075688-1
OE-2076408-1
OE-2076535-1
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Trista Foulk

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Shelly Frazier

Savannah Frccrnycr
Brittany FulkS

Jennifer Fuller

Shelia Gallant

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Carrie Harms

Elm`ly Ham`s-Cline

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Justin Heitzman

Alesia Hendelson

Marisela Hemandez

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Dunia Hidalgo

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Naice Hodgc

Che]sey Hollie

Sr.rra Beth Holmes

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Abby Johnston
Aleisha Johnson
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Tammy .lohnson
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Ella Jones
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Candace Lacy
Brittney laden
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Elizabeth Lcon
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Kirnberly Lics
Lifesaver Associatcs
Nyeshia Little
Snzanne Livingston
Andre Lloyd

Lobel Weiland Golden
Paula I_ong

Yesenia Lopez
I.oree Mallory
Frankey Luckett
Luz Lugo Soto

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Viviana Luna
Seliba Luster
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Breanne Mackenzic
Makaela Macolnber
Mikkeisha Malone
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Laura Manzotti
Mercedes Manfrediz
Jamie Mapstone
Abigail Malavilla
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Cynthia Martinez
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Katie Martinez
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1810720936
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MARMELISSA Melissa Parker Martinez

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Cheryl Mathiason
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Janitra Mafhis

Jasnn'n Mata-Camarena
Tamara Matyiko

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Svetlana McCurry
Jessa McDonald
Moniquc McDaniel
Scasa McGlothin
Rebecca Mead
Rcbccca Mcad
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Medline Industries, lnc.
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Barbar'a Melendez-Cruz
laToya Mcnritt

LaToya Merritt
Kathcrine Meyer
Katherine Meyer
Aarika Miller

Satoya Miller

Clarke Mitchell

MJS Construction Serviccs, Inc.

Biianna Montgomery
Jennifer Montgomery
Morgan Moore

Angela Moreno Duarte
Angela Moreno Duarte
Angela Moreno Duarte
Biviana Moreno Recendiz
Hannah Monisey
Jennifer Morris
Rachael Morin

Storrie Morrison
Virginia Morales
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Jennifer Mu]lings
Lucero Mulato

Holly Munson

Maira Munoz
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1NV0305398
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1NV0299670
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1NV0318494
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INV0289347
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INV0290378
INV0296448
1NV0298365
1NV0299689
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Vanessa Muro

Amber Myers

Hannah Myers

Ro,qer Nagel

Nebraska Scientit`lc

Julie Nelson

Kyiie Nersesian

Brooke Newmayer

Loynetta Newsom

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George Paniar_ma

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REFUND093016
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IVC020001062167
IVC020001064714
IVC020001066333
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Elizabeth Payne

PayFlex Systclns USA, Inc
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Morgan Penn

David M Peters

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Karl Petersen

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Pinnacol Assurance
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46496 08/25/ 16 REFUND082516 PUEZIP Zipporah Puente 0.00 0.00 1,664.00
47123 10/21/16 REFUND102116 PUPYAN Yannys Pupo 0.00 0.00 1,412.00
46956 10/07/16 REFUND100716 OUIANG Angela Quinalty 0.00 0,00 234.74
46544 09/02/ 16 18135 RAMCO Ramco Building Maintenance 0.00 0.00 2,350.00
46638 09/09/ 16 .......... RAMCO Ramco Building Maintenance 0.00 0.00 4,700.00
47182 10/25/16 REFUND060116 RAMJORI Jordan Ramey 0.00 0.00 218.00
46490 08/25/ 16 REFUND082516 RAMJORZ Jordan Ramsey 0.00 0.00 293.00
46421 08/22/16 REFUND082216 RANLAM lamar Randolph 0.00 0.00 92.35
45181 09/23/ 16 REFUND092216 RANLAM Larnar Randolph 0.00 0.00 177.00
47135 10/21/ 16 REFUND102116 RAUCLA Claudia Raudales 0.00 0,00 605.00
46648 09/12/16 16/03 RAZORBACK Razorback Secun`ty Service, 0.00 0.00 1,672.06
46648 09/12/ 16 16/06 RAZORBACK Razorback Security Service, 0.00 0.00 1,813.76
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46648 09/12/16 16/08 RAZORBACK Razorback Security Service, 0.00 0.00 1,799,59
46648 09_/12/16 16/09 RAZORBACK Razorback Security Service, 0.00 0.00 1.813.76
46648 09/12/16 16/ 10 RAZORBACK Razorback Socurity Servicc, 0.00 0.00 1.955.46
46648 09/ 12/ 16 16/11 RAZORBACK Razorback Securitv Service. 0.00 0.00 1,802.06
46648 09/12/16 16/ 12 RAZORBACK Razorback Security Servicc, 0.00 0.00 1,813.76
46648 09/12/16 16/13-1 RAZORBACK Razorback Security Servicc, 0.00 0.00 1,672.06
46648 09/12/ 16 16/14-1 RAZORBACK Razorback Securilv Servicc, 0_00 0.00 1,799.59
46526 08/26/16 14112 RDI RDI Consulting 0.00 0.()() 4,875.00
46970 50/07/ 16 14150 RDI RDI Consulting 0.00 0.00 3.843.75
46730 09/27/16 14113 _ RDlCO RDI Consulting 0.00 0.00 5,312.00
46440 08/22/16 REFUND082216 REECHA Chasity Reece 0.00 0.00 2,508.33
45133 09/23/16 REFUND092216 REEPAT Patria RCCVCS 0.00 0.00 30.00
46859 09/30/ 16 REFUND093016 REERYA Ryan Reed 0.00 0.00 15.00
45131 09/23/16 REFUND092216 RENSCA Scar|ett Rendon 0.00 0.00 1,589.00
46491 08/25/ 16 REFUND082516 REYIIY Iiyanna Reyes 0.00 0.00 240.00
46965 10/07/16 REFUND100716 RHOSLA Slate Rhonda Green 0.00 0.00 2,746.37
45174 09-'23/ 16 REFUND092216 RICDON Donna Rice 0.00 0.00 1,401.00
47045 10,"17/16 REFUND101416 RlCJAS .iaSliae Richards 0.00 0,00 427.00
46577 09/07/16 ER090616 RICJON Jonathan Rico 0.00 0.00 512.50
46660 09/15/16 ER 091516 RICJON Jonathan Rico 0.00 0.00 1,741.43
46992 10/13/16 101216 RICJON Jonathan Rico 0.00 0.00 95.81
46729 09'27/ 16 REFUND092716 RICKAT Kathryn Richards 0.00 0.00 403.00
47024 10/17/16 REFUND101416 RICKAT Kathryn Richards 0.00 0.00 177.00
46685 09/'1 5/ 16 REFUND091516 RICMER Mercedes Richie 0.00 0.00 74,25
47136 10,/'21/16 REFUND102116 RICMER Mercedes Richie 0,00 0.00 3,969.00
46480 08/24/ 16 ER062216 RICROB Robin Richardson 0.00 0.00 46.14
46827 09/30/ 16 REFUND093016 RIDREG Regina Ridgway 0.00 0.00 364.00
46470 08/24/ 16 ER052616 RlVERSM Monique Rivcrs 0.00 0.00 207.48
46470 08/24/ 16 W/E 07/03/ 16 RIVERSM Moniquc Rivers 0.00 0.00 322.14
47046 10/17/16 REFUND101416 RIVLAK Lakeiesha Rivera 0.00 0.00 1,000.00
45139 09/23/ 16 REFUND092216 ROALAK lakesha Roan 0.00 0.00 2,200.10
46808 09/30/ 16 REFUND093016 ROALAK Lakesha Roan 0.00 0.00 100.00
46860 09/30/16 REFUND093016 ROBDER Derius Roby 0.00 0.00 150.50
46449 08/22/16 REFUND082216 ROBJESS Jessica Roberts 0.00 0.00 2,550.00
46658 09/15/16 REFUND082616 ROBMIC Michael Roberts 0.00 0.00 2,315.06
47205 10/27/16 REFUND102816 ROBMIC Michacl Roberts 0.00 0.00 3,588.00
46710 09/22/16 13792-80161201 ROCKYMTN Roci<y Mountain Urgent Care 0.00 0.00 116.85
46517 08/25/ 16 REFUND082516 RODMIC Michelle Rodden 0.00 0.00 20.00
46813 09/30/16 REFUND093016 ROMVIV Vivian Rolnan 0.00 0.00 238.00
46487 08/25/ 16 REFUND082516 ROSGAB Gabriel Rosales-Lopez 0.00 0.00 1,267.00
46814 09/30/16 REFUND093016 ROSJEN Jennifcr Rosada 0.00 0,00' 2,040.00
46441 08/22/ 16 REFUND082216 ROUKIM Kiinberly Roundtrce 0.00 0.00 102_50
46518 08/'25/16 REFUND082516 ROWSTE Stephanie Rowden 0.00 0.00 1,113.06
46578 09/07/16 59736.88 RQL Lakeside Off'lce Park, LL)C 0.00 0.00 13,736.88
46585 09/08/16 STMT090116 ROL Lakeside OH`lce Park, LLC 0.00 0.00 1,263.12
46643 09/12/16 STMT091216 ROL Lakeside Ofiice Park, LLC 0.00 0.00 18,218.30
46655 09/15/ 16 FC 270 RQL lakeside Oft'ice Park, LLC 0.00 0.00 4.481.42
46655 09/15/ 16 STMT090116 ROL l_akcside Offlce Park, LLC 0.00 0.00 13,736.88
46904 10/03/16 093016 ON ACCT ROL lakeside Oflice Park, LbC 0.00 0.00 60,000.00
46905 10/03/16 093016-1 ON ACCT ROL Lakeside Office Park, LLC 0.00 0.00 30,000.00
46809 09/30/ 16 REFUND093016 RUSMEG Megan Rushing 0.00 0.00 1,642.00
46612 09/08/16 REFUND090816 SADHAG Hagar Sades 0.00 0.00 1,888.00
47062 10/18/16 431421-071616-1479 SAFEW Sat`eway lnc. 0.00 0.00 213.49
47062 10/18/16 434904-030416-1479 SAFEW Safeway Inc. 0.00 0,00 118.23
47062 10/18/16 800663-071516-1479 SAFEW Saf`eway lnc. 0.00 0.00 34.07
46944 10/07/16 REFUND100716 SALALI Alicia Salinas 0.00 0.00 939.00
46802 09/30/ 16 REFUND093016 SANASHZ Ashley Sandoval-Flores 0.00 0.00 100.00
45160 09/23/ 16 REFUND092216 SANCOU Courtnie Sanders 0.00 0.00 238.00
46935 10/07/ 16 REFUND100716 SANDlA Diana Sandoval 0.00 0.00 1,673.92
47261 10/27/16 REFUND102816 SANMAR Marina Sandeis 0.00 0.00 8.00
47047 10/17/16 REFUND101416 SANNAT Natori Santiago 0,00 0.00 15100

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Natori Santiago

Casey Schmit

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Michael Schneider
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Roger M Schafer
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Kaitlin Sharp
Melirdad Shams
Dylan Sheets

Kayla Shetler
Samantha Sherrin
Sa.l`ah Shepherd
Shannon Shelite
Shannon Shelite
Steven Shepherd
Steven Shepherd
Jessica Shields

Lisa Shockey

Holly Sholt

Holly Shortt

Brittany Sibole
Brenda Sierra

Bailey Silbert

Simply Self Storage - South
Skulls Unljinitedicom
Skulls Unlimited.com
Desiree S1nith
Kangelita Slnith

Lisa Sinith

Shara S1nith

Canie Smith'
Tyshawn S1nith
Charity Snider
Charity Snider
Christinc Sorensen
Jessica Soriano
Southwest Flol'ida Elnergency
Soutliwest Florida Emergency
Southwest Florida Elnergency
Jaime Sparkrnan
Alnber Starkey
Andreia Stallings
Lyndsie Stanley
Kn`stin Steais
Stercycle, lnc.
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280.50
3,597.88
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722.33
1,034.78
13.00
50.55
1,476.03
939.65
944.06
304.80
344.27
72.41
52.33
68.65
163.25
72.41
675.59
2,950.55
8. 19
516.15
3,969.00
1,290.37
2.602.20
1,604.00
5,078.00
108.00
336.00
1,190.00
1,964.74
249.58
56.66
482,11
1,852.02
233.72
263.54
344.59
2,764.83
12.00
1,000.00
1,390.00
1,126.00
236.77
126.73
1,845.00
370.01
136.04
1,625.00
141.77
149.86
2,301.48
604.68
1,000.00
2,319.00
366.91
385.00
385.00
196.00
20.00
1,383.84
454.00
20.00
343.36
348.51
348.59
353.82
359. 12
550.00
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47113 10/21/16
47206 10/27/16
47073 10/18/16
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47264 10/27/16
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47215 10/27/16
47126 10/21/16
46966 10/07/16
45140 09/23/16
47265 10/27/16
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1006672992
1006743358
1006812922
4006276724
4006340729
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REFUND092216
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REFUND102816
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REFUND090816
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Valarie Stein
Shontae Stovall
lewis Stroud
Megan Strain
Kelly Suber
Kelly Suber
SurgiReal Products, lnc.
Tessie Taleu

_Deshawna Taylor

Lakresha Taylor

Williain Taylor II

Sherri Taylor

Jasinine Tcague

Mya Tedesco

Eric Thompson

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Amy C Thrall

Amy C Thrall

Elizabeth Tolin

Dulce Torres

Miranda Trevino

Adam Trotter

Shanna Tyler

Shanna Tyler

U-Store it, lnc.

U-Store it, Inc.

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U-Store it, lnc.

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Utility Billing Service

US Department of Veterans
US Department of Veterans
VA Debt Manageinent Center
VA Debt Managelnent Center
VA Debt Mana,<z,ement Center
VA Debt Ma.nagement Center
Heather Van Vleck

Cynthia Vasquez

Katrina Vasquez

Zachary Vaughn

Anna Verseput

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209 ._o:m§m:
209 ,_o:m»:m:
209 Lo:m=,_m:
209 .._o:m§m:
209 ._o:m§m:
209 ,_o:m=._m:
209 ._o:m?m:
209 Lo_._m?m:
209 ,_03050:
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209 ._o:m§m:
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m.mwm.@m
m.mdm.@m
m.m~m.mm
m.m~m.mm
m.m._~m.mm
m_m.__.m.wm
m_04m.mw
m_md_.m.mw
m_mqm.mm

m_o4@.mw
m_mwm.mm
m“mwm.mm
m_mum.wm

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m_m.\m.@m
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m.m.\m.mm
m.m.\m.mw
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m_m.\m.w~
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Case

2030

Oqo<<_m<. _Am=._mm:
O_.Q<<_m<_ _Am§_mm:
0_.0<<_¢<_ _Am§_mm:
OB<<_QS _Am~:_mm:
O~os`_m<. _Am§_mm:
O~o<<_m<. Xm~:_mm:
O_.o<<_m<. _Am»:_mm:
O_.oi_m<_ Xm~s_mm:
03<<.0<. _Am»:_mm:
Oqo<<_m<_ zw»:_mm:
Oqo<<_m<_ _Am=__mm:
O_.o<<_m<_ zw»:_mm:
Oqo<<_m<_ Xm,:_mm:
Oqo<<_m<_ _Am=.__mm:
O~o<<_m<_ _Am.:_mm:
O_‘o<<_m<. _Am§_mm:
O~os`_m<. _Am§_mm:
03<<_0<_ xm»:_mm:
03<<_0<_ xmz_mms
O_.o,z_m<. _Am§_mm:
O~o<<_m<< Xm:._mm:
OS<<_Q<. _Am§_mm:
O_.o<<_m<. _Am§_mm:
O`o<<_m<_ _Am§_mm:
OB<<_m<_ xm§_mm:

vm< 020
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4 N\ 4 dmo4 m
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04\~N\~04 0
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ow\ 4 m\~o4 0
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0>\~0\~04 0
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4 4\00\~04 0

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Hmwm.§
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.....mwN.w»
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..~.mwm.w._
..~.mwm.w._
w.mmm.w\_
m.mmw.nm
w.mmm.w4
w.mmm.w,_
m.mmw.om
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._~.mmm.m4
w_mmm.w;
m_mmw.cm
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mhm.m._

mmn.oo

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hamm 440440.440040

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0 9040.%
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4.~.`_qmw.mm

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Case

zm_,:m

nm§wm:. xmq_
_um$_.wm:. _Am~_
_um$_.mm:. _Am_._
Um$$m:. _Am~_
_um$~mm:. qu_
_um`.o$m:_ qu_
nm»mqmm:_ Xm~_
_um»mqmm:_ _Amq_
_um»mqmm:_ _Am_._
_um~mqmm:_ _Am<_
Um$_.mm:. xm~_
Um§mm:_ xm~_
_um$_.wm:. xm_._
_um»m~wm:. _Amz
_um»m~wm? _Am~_
_um»m~mm:_ Kmq_
Um.m$m:_ _»mq_
_um»m_.mo:. _Am_._
_um»m~wm:~ _Am_._
_um$~mm:. xm;
40040609 Xm_._
_um$qmm:_ _Amq_
_um$<wm:_ qu_
_um$~mm? _Am~_
605309 _Am_._
_um$~mm:_ _Am_._
_um$_,wm:. _Amq_
Um»m~mm:. Xm<_
szw_.wm:q _Am~_
Um»m_,wm:. _Am_._
Um$_,mm:_ _Amq_
_um$_.mm:. _Amq_

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4~\-\~04 m
4~\~&~04 m
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om\4o\wo4m
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40\N0\No4m
40\~@\~04®
4 4\0m\~04m

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w.mw._ wm
4.mwm.@m
w_mmh.mm

m.wow.w_c
..._mm+mm
.\_mmh.mm
w_mmh.mm
w_m.mhlmm

w_mmh.mm
w_mma.mm
w_mma.mm
w_mm#.mm
w_@hm.g
.`.umm$.mm
Hmm#.mm

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w.mmh.mm
w.omm.4m
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.>mm+m~
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.>mm+mm
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.~_mmh.m~
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Nww_cmm.hm
Nwm_owm.hm

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zm=_m

wozn=xw_.. _Am__<
mo_._:&$_‘_ xm=<
w0_.4:408_.. Xm__<
w0_.=4=_6: Xm=<
w0_.54=8n Xm__<
wo:::rm_.. _Am_._<
mo::=xm_.. Xm__<
wQSEGJ Xm__<
mo:::_»m_.. xm__<
m0::_4x0: _$__<
w0::44xm_._ xm__<
m0::=x00 _.8__<
w0::44_6: XQ__<
w0s:40»0_.“ Xm=<
m0_.54=6: _Am__<
mo_._::_»mn Xm__<
m0::44_6_.. _Am=<
m0::=_8: Xm__<
mos::_»m_,. Xm__<
mo_._:=_$r _Am__<
mo_._:=xm: xm__<
wo:_._=_$n xm__<
wo::=_$r xm__<
m0::44_$_._ xm__<
m0::=_»0: zm__<
wo::&$_.. xm__<
m0::44r0: _Am=<

nm< 520
4 44_~.4._@04 m
4 84 4§04 m
4~4~&»04 m
044_0@`~04 m
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004_00_§04 0
4 04 4 952 m
4 4 404 4~04 m
4 4_.00_§04 0

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2030

0020_ moum: z
00:40. mocmz X
mm:$_ Docmz _A
00:40_ wong z
mm:$_ Do_om; z
00:40. Docm: x
00:40. 1300; z
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mm:$_ Docmz z
00:40. Docm: _A
mm:»m. D000_,4 X
wm:.nm. Docm: X
00340. _»000_,4 z
00340. _Nocmz X
wm£m. Docm: X
wmaqu _»000_.4 z
wm£m_ I000_.4 z
00340_ 3000_.4 x
00:404 D000: x
00340. Docm: X
wm£m. _»ocmz _A
mm£m_ Doc0_.4 z
0020_ moog x
0020_ mo_00: z

_um< 020

4 4§3§04 m
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004`0£§04 m
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0&04§04 0
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00\4 0__.N04 0
004§0_§04 0
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00\4 m`_N04 0
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Noh_m; mbh
N0~r04 m.k$

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2030

040<<040_._ 0400:0:
040<<040_._ 0400:0:
04.0<<040: m~mc:m:
040<<040: 040_0:0:
040<<040: 0400:0:
040<<0401. w400:0:
040<<0401. 0400:03
040<<040_.. 0400:0:
m_.0<<040_.. 0400:0:
040<<0404. m$u:m:
w:w<<m§._ 0400:0_._
040<<040_._ 040000:
040<<0404_ m400:0:
040<<040: 0400:0:
040<<040_.. 0400:0:
m_.0<<040_1. 0400:0:
_w_.0<<040r 0000_40:
040<<040: m400:0:
_w~m<<m$: 0400:0:
040<<0400 w»mu:m:
0405040_.. 0400:0:
w~m<<w$r m400:0:
040<<0404_ 0000:0_,_
m_.0<<0»0_1_ 0400:0:

_um< 020

4 4 \Ndm04 m
4 N\ 4 4\N04 m
4 N\~&NE m
04 \00\»04 0
04 \NN\N04 0
00\00\»04 0
ow: 0\m04 0
0~\4 0\~04 0
QN: 0\»04 0
00\0&»04 0
00\ 4 0\~04 0
0&04 \004 0
0& 4 0\004 0
0&»0\~04 0
om\ 4 0\~04 0
00\~§»04 0
00\4 0\N04 m
00\N0\N04 0
00\§\004 m
0§00\»04 0
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00\00\~04 m
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mom:_m_.
mm§_:mm 0010_.:._

w.m©m.w\_
0.4 mw.mm
Nm@m.w\_
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D€ber Weston Educational, lnc. Case number (ifknown) 16-21382

l None

Certain Gifts and Charitab|e Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

- None

Recipient's name and address Description of the gifts or contributions Dates given

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10. Al| losses fmm fire, theft, or other casualty within 1 year before fl|lng thls case.

- None

Description of the property lost and Amount of payments received for the loss Dates of-I_oss

how the loss occurred . - _
lf you have received payments to cover the loss, for

examp|e, from insurance, government compensation, or
tort liability, list the total received ’ -'

List unpaid claims non Official Form 1DEAlB (Schedule
A/B.' Assets - Real and Persona_/ Property).

melvin Payments or Transfers ..l_

11. Payments related to bankruptcy

Va|ue

Va|ue of property
lost

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy

relief,~orflling a bankruptcy case.

|:l None.

Who was paid or who received lf not money, describe any property transferred Dates
the transfer? "
Address

11.1. Aaron Garber
Buech|er & Garher, LLC
999 18th Street. Suite 1230-8
Denver, CO 80202

 

Email or website address

Who made the payment, if not debtor?
Earl Weston

12. Se|f-sett|ed trusts of which the debtor is a beneficiary

Total amount or
value

_$12,000.00

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor Within 10 years before the filing of this case

to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

- None.

Name of trust or device Describe any property transferred ' Dates transfers
' were made

13. Transfers not already listed on this statement

Total amount or
value

List any transfers of money or other property by sa|e, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or nnancial affairs. include

both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement

Officia| Form 207 Statement of Financia| Affairs for Non-|ndividuals Filing for Bankruptcy

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Best Case Bankruptcy

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Deber V_l[eston Educational, lnc. 7 _ Case number rifknown) 1§21382
El None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value
13.1 Unknown
. $0.00

 

Relationship to debtor

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14. Previous addresses
List all previous addresses used by the debtor within 3 years before Eling this case and the dates the addresses were used.

i Does not apply

Address Dates of occupancy
From-To.

Health Care Bankruptcles 4

15. Health Care bankruptcies
ls the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformityl or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

l No. Go to Part 9.
l:l Yes. Fill in the information below.

Faci|ity name and address Nature of the business operation, including type of services lf debtor provides meals
the debtor provldes and housing,-.number of
` patients in debtor’s care

lam Personally identifiable lnfonnation _ _ ____

16. Does the debtor collect and retain personally identifiable information of customers?

 

v|:l No.
- Yes. State the nature of the information collected and retained.

SLen_t_|nformation j
Does the debtor have a privacy policy about that information?
l] N`o

- Yes

 

 

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ER|SA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l:l No. Go to Part10.
- Yes. Does the debtor serve as plan administrator?

El No Go to Part10.

l Yes. Fill in below:
Name of plan Employer identification number of the plan

Weston Enterprises |n__c_:_. _ E|N! 621057-00_1_ _

Has the plan been terminated?

E| No
- Yes

Official Form 207 Statement of Financlal Affairs for Non-lndividuals Filing for Bankruptcy page 4

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Debtor Weston Educational, lnc. j 77 7 7 7 7 Case number (ifknown) 716-21382

Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units 77 j

18. Closed Hnancial accounts
V\hthin 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s beneiit. closed, sold,

moved, cr transferred?
include checking, savings, money marketl or other nnanciai accounts; celtiflcates of deposit; and shares in banks, credit unions, brokerage houses,

cooperatives associations, and other flnancial institutions.

l None
Financlai institution name and Last 4 digits of Type of account or Date account was Last balance
Address - account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

CHSE.

- None

Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before fliing this case. Do not include facilities that are in a part of a building in

which the debtor does business.

|:l None
Faci|ity name and address Names of anyone with Description of the contents Do you still
- access to it have it?
See Exhibit SOFA 20 Earl Weston, 7928 Allott Fi|es |:I No
Aveue, Fort Co||ins, CO - yes

80525

 

 

Part 11: Property the Debtor Ho|ds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do

not list leased o_r rented property.

l None

Part 12: Detai|s About Environment information _ _ _ _ _ _ __ _ __

For the purpose of Part 12, the following dennitions appiy:
Environmenta/ law means any statute .or governmental regulation that concerns poiiution, contamination, or hazardous material, regardless of the

medium affected (air, iand, water, or any other medium).

Site means any iocalion, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law deflnes as hazardous or toxic, or describes as a poliutant, contaminant, or a
similarly harmful substance.

Report ali notices, reieases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in anyjudic|a| or administrative proceeding under any environmental law? include settlements and orders.

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Debtor Weston Educational, lnc.

Case number (ifknown) \1§021382

. No.

l:l Yes. Provide details below.

Case title Court or agency name and
Case number

Nature of the case Status of case
address

23. Has any governmental unit othemise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

- No.

l:l Yes. Provide details below.

Site name and address Government'al unit name and

Environmental law, if known Date of notice
address
24. Has the debtor notified any governmental unit of any release of hazardous materia|?
i No.
|:l Yes. Provide details below.
Site name and address Gove`rnmental unit name and Environmenta| law, lf known Date of notice
address

Part 13: Detai|s About the Debtor's Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
lnclude this information even if already listed in the Schedules.
l None

Business name address Describe the nature of the business Employer identification number
Do not include Social Security number or l-TlN.

Dates business existed
26. Books, records, and financial statements

26a. List all accountants and bookkeepers who maintained the debtors books and records within 2 years before filing this case.
El None

Name and address

Date' of service
From-To
263.1- Almich & Associates 1999-2016
26463 Rancho Pkwy S.
Lake Forest, CA 92630

 

26b. List all firms or individuals who have.audited, compiled, or reviewed debtors books of account and records or prepared a Hnancial statement
within 2 years before filing this case.

\:l None
Name and address

Date of servlce
26b.1 .

From-To _ -
Almich & Associates

1999-2015
26463 Rancho Parkway
Lake Forest, CA 92630

260. List all firms or individuals who were in possession of the debtors books of account and records when this case is filed.
I:l None

Name and address

|f any books of account-and records are
unavailable, explain why

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Debtor vyeston Educational, lnc. Case number rfknown) 16-21382 j

Name and address lf any books of account and records are
unavailable, explain why

266-tl Weston Educational, lnc.
4704 Har|an St
Denver, CO 80212 , _ _

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement`within 2 years before filing this case.

ij None

Name and address
26d-1- Unknown

27. inventories
Have any inventories of the debtors property been taken within 2 years before ming this case?

l No

|:l Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the .. Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory '

28. List the debtor’s officers, directors, managing members, general partners, members in contro|, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Earl Weston 7928 Al|ott Ave Owner 100

Fort Co||ins, CO 80525

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

l:| No
- Yes. identify below.
Name Address Position and nature of any Period during which
' interest position or`interest
was held '

See Exhibit SOFA 29

30. Payments, distributions, or withdrawals credited or given to insiders
V\hthin 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on |oans, stock redemptions, and options exercised?

l:l No
- Yes. ldentify below.
Name'and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

30.1 See exhibit SOFA 4

 

 

Relationship to debtor

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EXH[B|T SOFA 29 - OFF|CERS, D|RECTORS, MANAGERS

#31. List the debtor’s officers, directors, managing members, general partners, members, or shareholders who were in
control of the debtor within 1 year before the filing of the case but who no longer hold these positions:

 

 

 

Name Address Position & Nature of any interest Period during which
position of interest
was held

Earl Weston 7928 Al|ott Avenue Owner January 1999 to

Fort Co||ins, CO 80525 Present
Eric Chiusolo 149919 Nighthawk Lane Chief Executive Officer i\/iay 26, 2014 to
Broomfield, CO 80023 October 21, 2016

 

lames l\/lal|or\,,l

14739-202 0rchard Pkwy
Westminster, CO 80023

Chief information Officer

October 6, 2014 to
November 1, 2016

 

Robert Banta

6668 Clovis Court
Timnath, CO 80547

Chief Financial Officer `

March 24, 1998 to
November 1, 2016
Retired, but on payroll

 

Venkat-Raj Ot|ingam

1144 W. Casa Grande Avenue
Anaheim, CA 92802

Vice President, Quantitative Finance
& Analytics;

interim CFO

January 1, 2016 to
November 1, 2016

July 1, 2016 to
November 1, 2016

 

Jonathan Rico

1705 Goldenrod Lane

National Director of Business

November 30, 2015 to

 

Ke|ler, TX 76248 Operations November 1, 2016
Kar| Petersen 9 Wi|d Rose Regional Vice President of September 1, 2015 to
Ladue, MO 63124 Operations November 1, 2016

 

Kathleen Crowley

5023 W. 120th Avenue, #163
BrOOmfiEld, CO 80020

Vice President, Communications

January 1, 2016 to
November 1, 2016

 

Denise Aber|e-Cannata

9421 Wi|d Gu|ch Court
Parker, CO 80138

Vice President, Academics

April 13, 2015 to
November 1, 2016

 

Jennifer Lozada

11907 Pa|ba Way #6905
Fort l\/|yers, FL 33912

Vice'President, Ca reer Services

i\/|arch 23, 2015 to
November 1, 2016

 

Ke||y Schnitker

4629 Withers Drive
Fort Co||ins

Vice President, Admissions

July 6, 2015 to
November 1, 2016

 

Christine Spath

721 Briar Ridge Court
Castle Ridge, CO 80108

Controller

September 21, 2015 to
June 24, 2016

 

 

 

 

St. Char|es, lL 60174

 

 

l\/lary Beth Emerson PO Box 488 Contractor, Financial Aid April 2016 to
16 Spruce Road November 2016
|Vloutonborough, NH 03254
David Peters 3752 King William Court Contractor, Regional Vice President l\/larch 2016 to
- ' November 2016

 

 

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Debtor Westoanrducational, lnc. 7 Case number rrfknown) 16-21382

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

- rio
l:l Yes. identify beiow.
Name of the parent corporation Employer identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

l No
|:l Yes. identify beiow.

Name of the parent corporation Employer identification number of the parent
corporation

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WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

i have examined the information in this Statement of Financia/Affairs and any attachments and have a reasonable belief that the information is true
and correct

| declare under penalty of perjury that the foregoing is true and correct

Executed on December 9, 2016

 

lsl Earl Weston Earl Weston
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor President

 

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
l No
l:l Yes

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